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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

DAVID TOM,

                    Plaintiff,
                                                   Case No. 6:22-cv-01644-PGB-DAB
v

MODERN CONCEPTS CONSTRUCTION LLC,

           Defendant,
____________________________________/


             DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

        Defendant, Modern Concepts Construction LLC (“Defendant”), hereby

disclose the following pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule

3.03:

        1.          The name of each person, attorney, association of persons, firm, law

firm, partnership, and corporation that has or may have an interest in the outcome of

this action – including subsidiaries, conglomerates, affiliates, parent corporations,

publicly-traded companies that own 10% or more of a party’s stock, and all other

identifiable legal entities related to any party in the case:

                    a.     Gunster, Yoakley & Stewart, P.A., counsel for Defendant

                    b.     John A. Schifino, Esq., counsel for Defendant

                    c.     Melanie B. Senosiain, Esq., counsel for Defendant


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                    d.    Modern Concepts Construction LLC, Defendant

                    e.    David Tom, Plaintiff (pro se)

        2.          The name of every other entity whose publicly-traded stock, equity, or

debt may be substantially affected by the outcome of the proceedings: None.

        3.          The name of every other entity which is likely to be an active participant

in the proceedings, including the debtor and members of the creditors’ committee (or

twenty largest unsecured creditors) in bankruptcy cases: None.

        4.          The name of each victim (individual or corporate) of civil and criminal

conduct alleged to be wrongful, including every person who may be entitled to

restitution: None.

        I hereby certify that, except as disclosed, I am unaware of an actual or potential

conflict of interest affecting the district judge or the magistrate judge in this action, and

I will immediately notify the judge in writing within fourteen days after I know of a

conflict.


Dated: September 23, 2022.


                                              /s/ John A. Schifino
                                              John A. Schifino, Esq.
                                              Florida Bar Number 072321
                                              Melanie B. Senosiain
                                              Florida Bar Number 118904
                                              Gunster, Yoakley & Stewart, P.A.
                                              401 E. Jackson Street, Suite 1500
                                              Tampa, Florida 33602

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                                        Email jschifino@gunster.com
                                              msenosiain@gunster.com

                                        Attorneys for Defendant




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of September, 2022, the foregoing Notice

of Removal was served via electronic mail and U.S. mail to the following:

David Tom
1058 Herne Ave NE
Palm Bay, FL 32907-1247
David.m.tom@gmail.com

                                                      /s/ John A. Schifino
                                                      John A. Schifino, Esq.




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